                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      CASE NO. 3:13-00090
                                                  )      JUDGE SHARP
JOSEPHINA LOPEZ-LAJUJ-[5]                         )
                                                  )

                                           ORDER

       Pending before the Court is Defendant’s Motion to Schedule a Change of Plea Hearing

(Docket No. 227).

       The motion is GRANTED and a change of plea hearing is hereby scheduled for

Thursday, October 31, 2013, at 2:30 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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